 

 

." ‘ _ g 1:04-Cv-06804 Document #: 181 Filed: 10/17/07 Page 1 of 2 Page|D #:1298

{l{evised l.`il!i`|l/(H)l
Llnitcd States Disti'ict Ceu rt Northern ])istriet of Illinois
APPLICATION FOR _L.EAV`E Fl`() APPEAR PRO HAC VICE

 
  
   

 

Casel`it""~f TiioMi-ts ptii-ii~i_, pistti itoeiNsoN,ei i_
VS_ nci 1 5 iiiiii

city or eHicAGO. nmi-mei w. aeaeiiiieu£srsmiani(s)

mm u,ii. ainan nn

 

 

 

Casc Niirnhcr: 04,@\;_¢53(}4 ~lL'dE€i Gettleman

 

l`, Ci'aig A. `l?toeh hereby appl}r to the Coiirt

 

under [.ocal Riile 83.14 for permission to appear and participate in the above»eiititled action on behalf of

Cfity of Cliicago by Whoiii lhave been retained.

 

I ain a member in good standing and eligible to practice before the following eotirts:

 

 

 

 

 

Title of Coiirt DateAdmitted
Calii`ornia Superior Court ( all eourts) - The State Bar of Califoiiiia 12/14/87
U.S. District Coiirt - Ceiitral Distriet of Calit`oi'ni`a 01/ 07/ 38
i_i'.s. ona-ia cum - seaman maria er california 05/09"99
U.S. Coi,ii't oi` Apti€als t`or the Ninth l]istriet 05/13/93

 

 

 

 

U . S Dietriet Coti_rt - Northei:n Dieti:'ig:t_ of C‘_.al_ifornia l D_B/Q'i" v
l have cni'rently_, or within the year preceding the date et this applieation, made pro hac vice applications to this

C.onrt in the following aetions:

 

 

Date of Applieation
Casc Nutnhcr Case Titlc (_Granted or Denied)*
06 C 3173 Katlileen l’airieJ et al. v. City of Chieago 03/2007

 

 

 

 

 

 

 

 

*It`dcnicd, please explain:
(_Attaeh additional form if
necessary)

 

PLii'siiaiit to Loeal Riilc 33d l5(a), applicants who dc not have ali office Wi`thiii the Northern Distriet of`Illinois must designate, at thc
lime tdl' lilii’ig ll"ieir initial i'it_ilii;e iii* pleading, ii member ufll"ie bar ufi.his Coi,iri.l'iavii'ig an tii`l'iee within this l')i$li‘icl upon w}'it.‘.i Servii:e t)l'
papers may be iiiade.

 

 

 

Has the applicant designated local counsel? Yes No l:|

 

It'yoLi have not designated local ecurisel, T_.ocal Rule Hfi. lS(h) provides that the designation must |:ie made within thirty (30) days.

 

 

1:04-Cv-06804 Document #: 181 Filed: 10/17/07 Page 2 of 2 Page|D #:1299

]-las the applicant ever becn:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

censuretl, siispeiided_. disbarred, or otherwise disciplined by any cnnrt? Yes Ne 1
or is the applicant currently the suh]cct ofan investigation ofthe

applieaiit’s professional conduct? Yes No j
transferred to inactive status, voluntarily withdrawn, or resigned from the

liar of any court’.’ Yes No z
denied admission to the bar ofany court? Yes ND /
held iii contempt of coilrt? Yes No /

 

 

 

 

NOTE: ii' the answer to any of the above questions is yes, please attach a brief description of the ineidenl(s) and the eppliennt’ti eurl‘ent
status before any court, or any agency t.hereof_. where disciplinary sanctions were imposed. er where en investigation et investigations
of the applieant`s eciidtiet may have been iiistitulcr.l.

      
 

i have read the Riiles of Pro|"essional Condi,iet for the Northern Distriet ofllliiiois, eff
through iiJ.§i-i], and the Standards for Prot`essioiial Conduetwithin the Seventh Fed
and will faithfully adhere to theni. l declare under penalty of perjury that the fe

tive Noveniber 2, 1991 (Loeal Rules 83.50
` effective Deeember l5. 19921
¢L.

 

 

 

 

 

 

 

 

 

miss/07 A,/;' /{
Date Signakrle %Meant

Last Na.n'ie Firs l’£laine Middle Netneiinitittl
Applieant's Narrie Roeb t ig Al
At’i’ii°f\"‘t`9 '~E\W Fi"“ Chaprnan, Glticksinan & Dean

Street. Addrcss (inelude suite or room ntinibcr) Stat.e F|ar Nurnber
”"“"""`““‘ *‘ A“"l"““" initio W. olympia Bivd., sa>ll soo 131316

City State ZIP Ccde Werk. Pl'ienc Number

lies Aiigeles CA 90064 (310)207-?722

 

 

 

 

 

('l`|ie pro hac vice admission fee is $li.|(l.tltl for cases filed before Fehri.iary l, Zl'l(l'l, and $50.00 for cases liled on or after that
datc, and Slioll lie paid to thc Clcrk. No admission cutler Rulc 83.14 is effective until such time as thc fcc lies been paid.)

(Fce Stainp)

 

 

NOTE: Atterneys seeking to appear pro hac vice may wish to consider filing a petition for P I D
aiii‘riissit)n to the general bar of this Cotii't‘ The fee for admission to the Gencral Bar is
$l 5[).UD The fee for pro hac vice admission is $ l 00_|]0 for cases filed before l'-`ehruary qECEiPT #
1,2001, and $50.00 for cases filed oii or after that date. Admission to the general bar

permits an attorney to practice before this Cctirt. Pro hac vice admission entitles an DCT 1 5 2007
attorney to appear in a particular ease only. Application for such admission inustbe
made in each case; and the admission t`ee iiil_ist be paid in each case. M|EHAEL w
DF - DDBBINS
w cl-ERK» ‘l.R h'o"""'||*"‘ `¢1_-|»-~ .“.r.

 

 

 

IT IS ORDERED that the applicant herein mayl appear in the above-entitled case.

enreo; dc,TUBEf€ l`/'|.-Q-UU?

 

 

 

